Case 4:21-cr-00102-CVE Document 145 Filed in USDC ND/OK on 11/09/21 Page 1 of 3

UNITED STATES OF AMERICA,

VS.

LUIS ALFREDO JACOBO,

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

Plaintiff,

Case No. 21-CR-102-CVE

Defendant.

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WAIVER OF RIGHT TO SPEEDY TRIAL

Luis Alfredo Jacobo, Defendant in the above-captioned matter states as

follows:

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My attorney has explained to me under the Sixth Amendment of the
United States Constitution and under the Speedy Trial Act provides I

must be brought to trial within 70 days of my arraignment;

. I understand a jury trial is scheduled December 20, 2021;

. Lam requesting the Court to Continue my case to Mlacch Q@az jury

trial docket. I am agreeing to the resetting of my case for trial due to the
following: I appeared for arraignment in this case on November 4, 2021.
Counsel Michael Noland received notice that the Court has set a
scheduling order setting Motions to be due in this case on November 8,
2021. As of November 4, 2021 Counsel has not received discovery in this

matter. Upon emailing the United States Attorney he advised my attorney
Case 4:21-cr-00102-CVE Document 145 Filed in USDC ND/OK on 11/09/21 Page 2 of 3

in an email that “I can tell you in general terms, discovery in this case is
voluminous.” Based on the anticipated amount of discovery in this case
and with only four (4) days to prepare motions, Counsel would not be
able to effectively file Pre-Trial Motions, nor prepare for trial in the time
set out in the Courts scheduling order.

4. | have read this waiver and I understand my right to a speedy trial and J
am giving up that right by signing this paper. I understand the period of
delay caused by the granting of the continuance will not be used in
computing the seventy (70) day time limit for trial prescribed in the
Speedy Trial Act;

5. I am signing this waiver voluntarily and of my own choice, free of threats
or pressures from anyone.

Respectfully submitted,

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(LIS ALESEDO JACOBO ; Date

 

Defendarft
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Michael Wapne Noland ' Date

Bar Number: 21768

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Oklahoma City, OK 73102
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nolanddefensefirm@yahoo.com
Case 4:21-cr-00102-CVE Document 145 Filed in USDC ND/OK on 11/09/21 Page 3 of 3

Certificate of Service

I hereby certify that on November Ss, 202 1, I electronically transmitted
the above document to the Clerk of the Court using the ECF system for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrant:
Thomas Eliot Duncombe, Assistant United States Attorney.

s/ Michael W. Noland
